
*901C. A. 3d Cir. Reported below: 104 Fed. Appx. 275;
*902No. 04-7589.
No. 04-8009.
No. 04-8240.
No. 04-8251.
No. 04-8307.
No. 04-8309.
No. 04-8322.
No. 04-8326.
No. 04-8357.
No. 04-8360.
No. 04-8369.
No. 04-8374.
No. 04-8396.
No. 04-8402.
No. 04-8422.
No. 04-8429.
No. 04-8433.
No. 04-8441.
No. 04-8455.
No. 04-8505.
C. A. 7th Cir. Reported below: 110 Fed. Appx. 687;
C. A. 4th Cir. Reported below: 108 Fed. Appx. 814;
C. A. 5th Cir. Reported below: 111 Fed. Appx. 278;
C. A. 5th Cir. Reported below: 111 Fed. Appx. 299;
C. A. 5th Cir. Reported below: 110 Fed. Appx. 463;
C. A. 11th Cir. Reported below: 124 Fed. Appx. 642;
C. A. 5th Cir. Reported below: 110 Fed. Appx. 438 (first judgment) and 461 (second judgment); C. A. 5th Cir. Reported below: 111 Fed. Appx. 297;
C. A. 4th Cir. Reported below: 113 Fed. Appx. 507;
C. A. 5th Cir. Reported below: 110 Fed. Appx. 457;
C. A. 2d Cir. Reported below: 372 F. 3d 86;
C. A. 5th Cir.;
C. A. 7th Cir. Reported below: 114 Fed. Appx. 754;
C. A. 6th Cir. Reported below: 380 F. 3d 266;
C. A. 6th Cir. Reported below: 101 Fed. Appx. 578;
C. A. 9th Cir. Reported below: 114 Fed. Appx. 884;
C. A. 4th Cir. Reported below: 111 Fed. Appx. 701;
C. A. 11th Cir. Reported below: 116 Fed. Appx. 245;
C. A. 11th Cir. Reported below: 378 F. 3d 1281; and
C. A. 11th Cir. Reported below: 125 Fed. Appx. 269. Motions of petitioners for *903leave to proceed informa pauperis granted. Certiorari granted, judgments vacated, and cases remanded for further consideration in light of United States v. Booker, 543 U. S. 220 (2005).
